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2
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5
6
7
                          UNITED STATES DISTRICT COURT
8
                        SOUTHERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                     Case No. 18-cr-3677-W-WVG
11
12                Plaintiff,
                                                   Unopposed motion to modify
13         v.                                      conditions of pretrial release
14
     DUNCAN D. HUNTER,
15
16                Defendant.
17
18
           Congressman Hunter submits this unopposed motion to modify his
19
20   conditions of release to allow official travel, as follows:
21
           In honor of Congressman Hunter’s military service, he has been invited on
22
23   a congressional trip to Belgium for the 75th Anniversary of the Battle of the
24
     Bulge. The dates of travel are December 13-16, 2019. Members will depart
25
26   together from Washington D.C., on December 13, 2019, and return to
27
     Washington D.C., on December 16, 2019.
28
29         The government and pretrial services have reviewed the congressional
30
     invitation and have no opposition to Congressman Hunter’s participation.


                                               1
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1    Congressman Hunter will provide a full itinerary to pretrial services before he
2
     leaves. Accordingly, he asks the Court to approve this travel.
3
4          Congressman Hunter’s surety has been informed of, and joins in, this
5
     request. His declaration, as well as a copy of the current conditions of release are
6
7    attached. A proposed order will be filed with this motion.
8
9
10                                                  Respectfully submitted
11
                                                    with the consent of all parties,
12   Dated: November 8, 2019                        /s/ Devin Burstein
13                                                  Devin Burstein
14                                                  Warren & Burstein
15
     Dated: November 8, 2019                        /s/ Kimura Hazard
16                                                  Kimura Hazard
17                                                  Pretrial Services Officer
18
     Dated: November 8, 2019                        /s/ Emily Allen
19                                                  Emily Allen
20                                                  Assistant United States Attorney
21
                                   Signature Certification
22
23         I certify that all parties signing above are aware of the content of the above
24
     document and have authorized me to sign for them.
25
26   Dated: November 8, 2019                        /s/ Devin Burstein
27
                                                    Devin Burstein
                                                    Warren & Burstein
28
29
30




                                              2
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Av llJlJA   (Rev. 05/03/2018) Order Setting Conditions of Release (Modified)                                                                                       Page I of2 .,,.
                   Case
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                                         UNITED STATES DISTRICT COURT
                                                                          for the
                                                               Southern District of California
                         United States of America                              )
                                          V.                                   )
                                                                               )                 Case~,.L(l.{(]07{'- V',
      r:1L V\ c"".....,            D.
                                      Defendant
                                               ~:ft'r                          )                        i
                                                                                                        I
                                                                                                                                ·, .::
                                                                                                                                     •
                                                                                                                                                                               '1



                                                       PRETRIAL RELEASE ORDER i.                                                         ...... ·--·                       I!
                                                                                                                                                                           \


IT IS ORDERED that the defendant's release is subject to these conditions:                                                    ,~·.UCJ .~~    3 ;~·a;                       !


                                                                   Mandatory Conditions
                                                                                                                                                       ~
(1)    The defendant must not violate federal, state, or local law during the peribd of release. '
                                                                                                   ,'


                                                                                                   '·' Ci·
                                                                                                            -- ,- '   I   .                                (,
                                                                                                                                                                       <
(2)    The defendant must cooperate in the collection of a DNA sample as authorized hy42 U.s.c:-§"T4135a.
                                                            Standard Conditions
                                               (Each Standard Condition applies, unless stricken.)
(3)    The defendant must appear in court as ordered and surrender as directed to serve any sentence.
(4)    The defendant must not possess a firearm, destructive device, or other dangerous weapon. The defendant
       must legally transfer all firearms, as directed by Pretrial Services.
(5)    The defendant must not use or possess a narcotic drug or other controlled substance without a lawful medical
       prescription. The defendant must not use or possess marijuana under any circumstances.
(6)    The defendant must report to the U.S. Pretrial Services Office (telephone (619) 557-5738) on the day of the
       initial court appearance or within 24 hours of the defendant's release from custody, whichever is later.
       Throughout this case, the defendant must report as directed by the Pretrial Services Office and follow all
       directions of the Pretrial Services Office.
(7)    The defendant must advise the Court or the Pretrial Services Office in writing of: (1) the defendant's current
       residence address and phone number, when first reporting to Pretrial Services; and (2) any new contact
       information, before making any change of residence or phone number.
(8)    The defendant must read this Pretrial Release Order and the "Advice of Penalties and Sanctions" form, or
       have them read to the defendant in the defendant's native language. The defendant must acknowledge the
       defendant's understanding of all the pretrial release conditions and the penalties and sanctions for any
       violations, by signing the "Advice of Penalties and Sanctions" form.
(9)    Restrict travel to: ~ San Dieg" Cetmey D Imperial County D State of California
                            D CDCA (L.A., Orange, Riverside, San Bernardino, S.L.O., Santa Barbara, Ventura)
                            181 Do not enter Mexico ~ Other Travel Restriction: Co....f,""',..~ U 5                                                                  fl
                                                                    Additional Conditions
(10)   Q (a)       The defendant is released on personal recognizance.                                                                   ..>-2
       (! (b) The defendant must execute an appearance bond in the amount of$                                         /CV J a- ;;;.---                          that is:
           D Unsecured.
        ~Secured, as set forth below. The Court finds that an unsecured bond will not reasonably assure the
          aefendant's appearance as required and/or will endanger the safety of another person or the community.
           Security: ~The co-signatures of OV,~nancially responsible (and related] adults or _ _ _ _ __
                                 tJ
                       A cash deposit with the Court of$                            .
                     D A trust deed to the United States on real property approved by a federal judge.
                     D A cash bond and/or a bail bond by an approved, solvent corporate surety. A corporate bail
                       bond must cover all conditions ofrelease, not just appearances.
                     D Other: _ _ _ _ _ _~~~~~~~~~~~~~~--~~~~~~~-
           Hearing: D Surety examination D Nebbia hearing (bail source hearing)
(11) D 18 U.S.C. § 3142(d) hold until              ; if no detainer is lodged by then, these conditions take effect.
AC 199A (Rev. 05/03/2018) Order Setting Conditions of Release (Modified)
                 Case
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(12) The defendant must:
     ~(a) actively seek or continue full-time employment, or schooling, or a combination of both.
     r;tf (b) reside with (~a family member, surety, or                                                       , or
                               (@j at a residence approved by the Pretrial Services Office, including any contract
                               facility.
     D (c) surrender any valid passport to the Pretrial Services Office and not obtain a passport or other
              international travel document.
     O (d) clear all warrants/FTAs and pay all fines within 90 days of release or as directed by the Pretrial
              Services Office.
     Qje) submit to psychological/psychiatric treatment at Pretrial Services' discretion.
     L8( (f) submit to drug/Rh r:luri .testing no more than                   L
                                                                   times per month and/or outpatient substance abuse
              therapy and counseling, as directed by the Pretrial Services Office. Testing may include urine
              testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
              substance screening or testing. Pretrial Services need not notify the Court of test results attributed to
              residual elimination.
     D (g) not use alcohol at all.
     D (h) not have a blood alcohol content (BAC) of .08% or more.
     D (i) participate in and complete a program of inpatient substance abuse therapy and counseling, as
              directed by the Pretrial Services Office.
     O(i)     avoid  all contact, directly or indirectly, with any person who is or may be a victim or witness in the
              investigation or prosecution, including: - - - - - - - - - - - - - - - - - - - - - -
     D (k) participate in the Location Monitoring Program and comply with its requirements as directed under
              the following component and technology:
               D (i) Curfew. You are restricted to your residence (0) every day from                      to _ _ _ _ ,
                         or (0) as directed by the pretrial services office or supervising officer.
               O (ii) Home Detention. You are restricted to your residence at all times except for Pretrial
                         Services-approved absences for: employment; education; religious services; medical,
                         substance abuse, or mental health treatment; attorney visits; court appearances; Court-
                         ordered obligations; or other activities.
               O (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence
                         except for Court-approved absences for medical necessities, court appearances, or other
                         activities.
                  Technology: 0 Global Positioning System (GPS) 0 Radio Frequency 0 Voice Recognition
               D You must pay all or part of the cost of the program based on your ability to pay as determined
                  by the pretrial services officer.
               O Defense counsel must notify Pretrial Services upon submission of bond paperwork; defendant to
                   be released from custody to Pretrial Services the following business day by 10:00 a.m. and
                  Pretrial Services to transport if needed.
     D (1) return to custody each                     at           AM/PM after being released at               AM/PM
              for employment, schooling, or the following purposes: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D (m) maintain residence at a halfway house, community corrections center, or residential facility, as the
              Pretrial Services Office or supervising officer considers necessary.
     D (n) remain in the custody of                                             , who will supervise the defendant and
              notify the Court immediately if the defendant violates any conditions ofrelease.
     0 (o)    Adam     Walsh Act: See attached Addendwn for additional conditions.
     D (p) Other conditions:                  -----------~~~~--------------~




(13)    0    All conditions previously set will remain the same.

                     Date:        f/iJ/te                                  ----.v.td!~2~.._____ _ __
                                                                           Hon. William V. Gallo
                                                                           U.S. Magistrate Judge
